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               TUCSON, ARIZONA 85716
   3                 (520) 784-2600
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   5
       Attorneys for Debtor
   6

   7                            IN THE UNITED STATES BANKRUPTCY COURT
   8                                   FOR THE DISTRICT OF ARIZONA
   9
       In re                                                 In Proceedings Under
  10
                                                             Chapter 11
  11   DEED AND NOTE TRADERS, LLC,
                                                             NO. 4-10-bk-03640-EWH
  12                                          Debtor.
                                                             MOTION TO MODIFY PLAN
  13

  14
                      Deed and Note Traders, LLC, the reorganized Debtor in the above-captioned
  15
       chapter 11 case, hereby moves to modify its Plan pursuant to Bankruptcy Code § 1127(a) and (b)
  16
       for the reason and on the grounds that numerous creditors have failed to comply with the terms of
  17
       the confirmed Plan and have continued to report various secured loans which are otherwise
  18
       current in a default status, thereby precluding the Debtor from qualifying for refinancing of these
  19
       secured loans within the time frame contemplated by the original Plan.
  20
                      In support of its Motion, the Debtor states as follows:
  21
                      1.        On September 7, 2007, the Debtor filed its first chapter 11 proceeding in
  22
       which it confirmed a plan on October 23, 2008 (the “First Plan”).
  23
                      2.        The First Plan provided that the secured claims owed by the Debtor would
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       be extended for a period of seven (7) years with interest-only payments, with those payments
  25
       becoming due on November 23, 2015.
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Case 4:10-bk-03640-BMW          Doc 1766 Filed 06/10/15 Entered 06/10/15 15:30:10              Desc
                                 Main Document    Page 1 of 6
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                                                                                     3.       On February 12, 2010, the Debtor filed its second chapter 11 proceeding in
                                                                 2
                                                                     order to address the continuing decline of value of property in the Tucson, Arizona, real estate
                                                                 3
                                                                     market.
                                                                 4
                                                                                     4.       On February 10, 2011, the Debtor confirmed a Plan of Reorganization in
                                                                 5
                                                                     its second bankruptcy proceeding (the “Second Plan”) under which the Debtor “crammed down”
                                                                 6
                                                                     most, if not all, of the properties in its portfolio to current fair market value.
                                                                 7
                                                                                     5.       Following confirmation of the Debtor’s Second Plan, the Debtor
                                                                 8
                                                                     commenced making payments under the indebtedness as restructured under the Second Plan.
                                                                 9
                                                                                     6.       Many of the secured creditors whose obligations were modified under the
                                                                10
                                                                     Second Plan failed and refused to acknowledge the modification of their indebtedness under the
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                                                                11
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                                                                     Second Plan, have failed and refused to accept payments, to properly reflect the outstanding
                                         2329 N. TUCSON BLVD.




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                                                                     indebtedness as set forth in the Second Plan, and have, in many cases, commenced foreclosure
                                                                13
                                                                     proceedings to foreclose on the properties which are otherwise in a non-default status under the
                                                                14
                                                                     terms of the Second Plan.
                                                                15
                                                                                     7.       As a result of the failure of the secured creditors to properly report the
                                                                16
                                                                     correct indebtedness and the non-default status of the loans, the Debtor’s credit standing has been
                                                                17
                                                                     impaired and it has been unable to secure financing to re-finance its properties in anticipation of
                                                                18
                                                                     the maturity under the First Plan of November 2015.
                                                                19
                                                                                     8.       As a result of the failure of the creditors in this case to comply with the
                                                                20
                                                                     terms of the First Plan and the Second Plan, the Debtor seeks to modify its Plan to extend the
                                                                21
                                                                     deadline for the maturity of its secured loans under its First Plan and its Second Plan for a period
                                                                22
                                                                     of five (5) years, or until November 23, 2020.
                                                                23
                                                                                     9.       The request for modification of the Debtor’s Plan is not a result of any
                                                                24
                                                                     failure of the Debtor to comply with the terms of its First Plan or its Second Plan, but solely the
                                                                25
                                                                     result of the failure of its secured lenders to comply with the terms of this Plan which have been
                                                                26

                                                                      MO TO MODIFY PLAN.doc

                                                                                                                 -2-
                                                         Case 4:10-bk-03640-BMW               Doc 1766 Filed 06/10/15 Entered 06/10/15 15:30:10               Desc
                                                                                               Main Document    Page 2 of 6
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                                                                     brought to the Court on numerous occasions and are the subject of a pending motion for contempt
                                                                 2
                                                                     against those creditors.
                                                                 3
                                                                                    WHEREFORE, the Debtor respectfully requests that this Court enter its order
                                                                 4
                                                                     modifying the Debtor’s Plan of Reorganization pursuant to Bankruptcy Code § 1127(a) and (b) to
                                                                 5
                                                                     extend the maturity date of all of its secured loans to November 23, 2020.
                                                                 6
                                                                                    RESPECTFULLY SUBMITTED this 10th day of June, 2015.
                                                                 7
                                                                                                                     LAW OFFICE OF SCOTT D. GIBSON, PLLC
                                                                 8

                                                                 9
                                                                                                                     By: /s/ Scott D. Gibson (007395)
                                                                10                                                      Scott D. Gibson
                                                                                                                        Attorneys for Debtor
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                                                                      MO TO MODIFY PLAN.doc

                                                                                                                   -3-
                                                         Case 4:10-bk-03640-BMW                 Doc 1766 Filed 06/10/15 Entered 06/10/15 15:30:10        Desc
                                                                                                 Main Document    Page 3 of 6
                                                                 1                                        CERTIFICATE OF SERVICE

                                                                 2          Original electronically filed and copies of the foregoing served via the Court’s CM/ECF
                                                                     Notification System this 10th day of June, 2015, on all Electronic Case Filing Participants that
                                                                 3
                                                                     have appeared in the above-captioned case, or U.S. Mail to parties not registered through
                                                                 4   CM/ECF.

                                                                 5   Elizabeth C. Amorosi                                 Nancy J. March
                                                                     United States Trustee                                Fennemore Craig, P.C.
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                                                                 8   21 E. Speedway Boulevard                             American Home Mortgage Services, Inc.
                                                                     Tucson, AZ 85705                                     1525 S. Beltline Road, Suite 100 N
                                                                     Attorney for Vantage West Credit Union               Coppell, TX 75019
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                                                                                                                          Creditor
                                                                     Clifford B. Altfeld
                                                                10   ALTFELD, BATTAILE & GOLDMAN, P.C.                    Dennis J. Clancy
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                                                                     250 N. Meyer Ave.                                    RAVEN, CLANCY, & McDONAGH, P.C.
                                                                11   Tucson, AZ 87501                                     313 South Convent
                                        TUCSON, ARIZONA 85716
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                                                                12                                                        Attorneys for CNH Capital America LLC
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                                                                     Daniel Jurkowitz
                                                                13   David W. Krula                                       Maria Tsagaris
                                                                     Linda S. Tucker                                      MCCALLA RAYMER, LLC
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                                                                     PIMA COUNTY ATTORNEY                                 Roswell, GA 30076-2102
                                                                15   Civil Division                                       Attorneys for Litton Loan Servicing, L.P., and Saxon
                                                                     32 N. Stone Ave., Suite 2100                         Mortgage Services, and America’s Servicing
                                                                16   Tucson, AZ 85701                                     Company; Wells Fargo Bank, N.A.

                                                                17   Clyde Gavin                                          Dennis A. Rosen
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                                                                22   Mortgage Services; BAC Home Loans Servicing LP       Attorneys for Alaska Seaboard Partners, L.P.
                                                                23   Specialized Loan Servicing, LLC
                                                                     8742 Lucent Blvd., Suite 300
                                                                24   Highlands Ranch, CO 80129
                                                                     Creditor
                                                                25

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                                                                                                                   -4-
                                                         Case 4:10-bk-03640-BMW                 Doc 1766 Filed 06/10/15 Entered 06/10/15 15:30:10                 Desc
                                                                                                 Main Document    Page 4 of 6
                                                                 1   Mark S. Bosco                                      Josephine E. Piranio
                                                                     TIFFANY & BOSCO                                    Brian A. Paino
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                                                                     Trust Company; Kondaur Capital Corporation;        Attorneys for Ocwen Loan Servicing, LLC; PNC
                                                                 5   Flagstar Bank, FSB; Wells Fargo Bank; America’s    Bank National Association; JPMorgan Chase;
                                                                     Servicing Company; BAC Home Loan Servicing,        Citibank, N.A.; U.S. Bank National; J.P. Morgan
                                                                 6   L.P., PNC Mortgage; Litton Loan Servicing; HSBC    Mortgage Acquisition Corp.; Bank of America, N.A.;
                                                                     Bank USA, NA                                       EMC Mortgage Corporation; GMAC Mortgage;
                                                                 7                                                      Wachovia Bank, N.A. Home Loan Services, Inc.;
                                                                     Saxon Mortgage Services                            Wachovia Mortgage; Washington Mutual Bank;
                                                                 8   1270 Northland Drive, Suite 200                    Deutsche Bank National Trust Co.; Select Portfolio
                                                                     Mendota Heights, MN 55120                          Servicing, Inc.; Citibank, N.A., as Trustee; American
                                                                 9   Creditor                                           Home Mortgage Servicing, Inc.; HSBC Bank USA,
                                                                                                                        National Association; Citimortgage, Inc.
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                                                                     c/o Carolyn B. Goldschmidt                         Phoenix, AZ 85012
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                                                                24                                                      MLB Sub I, LLC/BSI Financial Services, Inc.

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                                                                                                                  -2-
                                                         Case 4:10-bk-03640-BMW                Doc 1766 Filed 06/10/15 Entered 06/10/15 15:30:10                 Desc
                                                                                                Main Document    Page 5 of 6
                                                                 1   Jeremy T. Bergstrom, Esq.                        Marix Servicing, LLC
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                                                                 9   WATERFALL ECONOMIDIS                               Company as Trustee for Soundview Home Loan
                                                                     5210 E. Williams Circle, 8th Floor                 Trust 2006-1, Asset-backed Certificates, 2006-1;
                                                                10   Tucson, AZ 85711                                 and Deutsche Bank National Trust Company, as
                                                                     Attorneys for Robert J.F. Houyoux                Trustee for the registered holders of Saxon Asset
                SCOTT D. GIBSON, PLLC




                                                                11                                                    Securities Trust 2007-1 Mortgage Loan Asset Backed
                                        TUCSON, ARIZONA 85716




                                                                     Andrew Goldberg                                  Certificates, Series 2007-1;
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                                                                12   Rosicki, Rosicki & Associates, P.C.              MTGLQ Investors, LP
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                                                                14   Company and Barclays Capital Real Estate, Inc.   259 N. Meyer Ave.
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                                                                15   BAC Home Loans Servicing, LP                     Attorneys for The Ridge 4 Homeowners Assoc.
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                                                                     Plano, TX 75024                                  Michael D. Curran
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                                                                     Creditor                                         Maynard Cronin Erickson
                                                                                                                      CURRAN & REITER, PLC
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                                                                21                                                    Attorneys for JP Morgan Mortgage Acquisition Corp.,
                                                                                                                      its successors and/or assigns
                                                                22

                                                                23

                                                                24   By: /s/ Maria Calderon

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                                                                                                                  -3-
                                                         Case 4:10-bk-03640-BMW                Doc 1766 Filed 06/10/15 Entered 06/10/15 15:30:10            Desc
                                                                                                Main Document    Page 6 of 6
